                                                 Case 2:17-cr-00225-TLN Document 64 Filed 07/17/19 Page 1 of 2


                                       1   Kresta Nora Daly, SBN 199689
                                           BARTH DALY LLP
                                       2   2810 Fifth Street
                                           Davis, California 95618
                                       3   Telephone: (916) 440-8600
                                           Facsimile: (916) 440-9610
                                       4   Email: kdaly@barth-daly.com
                                       5   Attorneys for Defendant
                                           RICARDO GABRIELE-PLAGE
                                       6

                                       7

                                       8                                 IN THE UNITED STATES DISTRICT COURT

                                       9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

                                      10

                                      11   UNITED STATES OF AMERICA,                            Case No. 2:17-CR-00225-TLN
                                      12                    Plaintiff,
                                                                                                STIPULATION AND ORDER RESETTING
                                      13            v.                                          SENTENCING AND DISCLOSURE
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




                                                                                                DATES
                                      14   RICARDO GABRIELE-PLAGE,
                                      15                     Defendants.

                                      16

                                      17            It is hereby stipulated and agreed to between the United States of America through Brian

                                      18   Fogerty, Assistant United States Attorney and defendant Ricardo Gabriele-Plage through his

                                      19   counsel, Kresta Daly, that:

                                      20                    Judgment and Sentencing:                   October 17, 2019

                                      21                    Reply or Statement of Non-Opposition:      October 10, 2019

                                      22                    Formal Objections:                         October 3, 2019

                                      23                    Final PSR Filed With the Court:            September 26, 2019

                                      24                    Informal Objections:                       September 19, 2019

                                      25                    The Draft PSR Disclosed to Counsel:         September 12, 2019

                                      26   ///

                                      27   ///

                                      28   ///
                                           {00028774}
                                           STIPULATION AND [PROPOSED] ORDER               -1-                             [Case No. 2:17-CR-00225-TLN]
                                               Case 2:17-cr-00225-TLN Document 64 Filed 07/17/19 Page 2 of 2


                                       1            IT IS SO STIPULATED.
                                       2   Dated: July 15, 2019.                   Respectfully submitted,
                                       3
                                                                                   By     /s/ Kresta Nora Daly
                                       4                                                  Kresta Nora Daly
                                                                                          Attorneys for Ricardo Gabriele-Plage
                                       5

                                       6   Dated: July 15, 2019.                   By     /s/ Kresta Nora Daly for
                                                                                          Brian Fogerty
                                       7                                                  Assistant United States Attorney
                                       8

                                       9

                                      10                                                 ORDER
                                      11            Good cause appearing the Court orders the previously set judgment and sentencing date
                                      12   vacated and resets all dates as follows:
                                      13                    Judgment and Sentencing:                     October 17, 2019, at 9:30 a.m.
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




                                      14                    Reply or Statement of Non-Opposition:        October 10, 2019
                                      15                    Formal Objections:                           October 3, 2019
                                      16                    Final PSR Filed With the Court:              September 26, 2019
                                      17                    Informal Objections:                         September 19, 2019
                                      18                    The Draft PSR Disclosed to Counsel:          September 12, 2019
                                      19            IT IS SO ORDERED.
                                      20   Dated: July 16, 2019
                                      21

                                      22

                                      23                                                         Troy L. Nunley
                                                                                                 United States District Judge
                                      24

                                      25

                                      26

                                      27

                                      28
                                           {00028774}
                                           STIPULATION AND [PROPOSED] ORDER                -2-                               [Case No. 2:17-CR-00225-TLN]
